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UNITED STATES pisTRi@r dour 10" / L

NORTHERN DISTRICT OF ILLINOIS

FASTERN DIVISION” G2. -i- = tig “My , L
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UNITED STATES OF AMERICA Sia56 0
No. 01 cR 469 “SQ,
v. Judge Conlon og Yo,
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f/k/a BRADDOCK MANAGEMENT, L.P.;
BAINBRIDGE MANAGEMENT, INC.,

f/k/a BRADDOCK MANAGEMENT, INC.,

f/k/a WALDO POINT MANAGEMENT;

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BAINBRIDGE MANAGEMENT, L.P., )
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GOVERNMENT!’ 5 PROPOSED VOIR DIRE QUESTIONS
The UNITED STATES OF AMERICA, by its attorney, PATRICK J.
FITZGERALD, the United States Attorney for the Northern District of
Illinois, Bastern Division, respectfully proposes the following
voir dire questions in addition to the standard questions:
1. Have you or any of your relatives or close friends ever

been arrested or investigated for, or convicted of, a crime, other

than a minor traffic violation? If sa, what were the
elreumstances?
2. Have you or any of your relatives or close friends had

any experience with a law enforcement agency that would make it
difficult for you to be fair to both sides in this case?

3. Re you held any philosophical, moral, religious,
political, or other beliefs that would prevent you from judging the
acts of another person?

4, Do you have any beliefs that would make it difficult for

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you to be fair to both sides in a case that had been investigated
by the FRI?

5 You may hear testimony from law enforcement agents. You
should consider the testimony of such agents in the same manner as
you consider the testimony of any other witness. Would the fact
that a witness works for a law enforcement agency affect your
abllity te consider his testimony in the same manner as the
testimony of any other witness?

6. De you have any beliefs regarding the constitutionality
or morality of the federal laws, including wire fraud, mail fraud,
health care fraud, racketeering, or medicare anti-kickback laws
that would make it difficult for you to be fair to both sides ina
case involving the enforcement of those laws?

7T. Have you ever served on a jury before? If so, what was
the nature of the case and did that jury deliberate and reach a
verdict?

a. Do you have a family member or close friend who works
with or in any law enforcement agency?

9. Do you have any family member or close friend that works
with or is a lawyer who practices in the area of criminal law, or
who is a private investigator?

16. Have you, any member of your family, or any close friend
aver had any personal experience with any branch of federal, state,

or local government that would cause you to be unfair ta the

 
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government or the defendant?

ll. Some of the evidence you will hear concerns an
investigation in which cooperating witnesses were used and
conversations were secretly tape recorded by law enforcement
agents. These are each lawful investigative techniques. Do you
have any views about the use of cooperating witnesses which would
make it difficult for you to be fair to the government in this
case? Do you have any views about the use of surreptitious
recording devices which would make it difficult for you to be fair
to the government in this case?

12. The judge will instruct you about the applicable law. It
is your obligation to follow those instructions about the law,
whether you agree with the law or not. Do you have any difficulty
with the notion that you mist accept and follow the Court’s
instructions?

13, Have you or any of your relatives or close friends ever
worked in the health care field or had any experience with the

health care field that would make it difficult for you to be fair

 
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to both sides in this case?

CONCLUSION
WHEREFORE, the government respectfully requests that the Court
ask the voir dire questions listed above.

Respectfully submitted,
PATRICK J. FITZGERALD
United States Attorney

Koon loloorg,

IKAARUNA SELON A 7244,
Assistant United States Attorney

219 S. Dearborn, Suite 500

Chicago, Illinois 60604

312/353-5329

By:

 

 

 

 
